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1N THE UNITED STATES DISTRICT COURT ;_;g "`.:'_3= -5_/ ` dth 6,_ '
FoR THE WESTERN DISTRICT oF rENNESSEH_-@ cpr 0/. _ _ d
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UNITED STATES oF AMERICA
vs CR No. 1104-10061-05_T
PATRICK PEARSON
oRDER oN CHANGE oF PLEA

 

This cause came on to be heard on June 24, 2005, Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person
and with counsel, Jon A. York, who Was appointed..

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUTLTY as charged in Counts l of the lndictment.

This ease has been set for Sentencing on Fridav . Sentember 23.. 2005. at 8:45

The defendant is remanded to the custody of the United States Marshal.
IT IS SO ORDERED.

_MA\M¢Q

J S D'.'TODD
ED STATES DISTRICT JUDGE

DATE: ‘,;)_€{/ 961/wa SLM§/

This document entered on the docket sheet `In compllance
with Rule 55 andlor 32{b) FHCrP on §

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J on A. York

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U.S. ATTORNEY
109 S. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

